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     EXHIBIT 102%
    5edacted Version of
Document Sought to be Sealed
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From:                              Lesley Weaver <lweaver@bfalaw.com>
Sent:                              Sunday, May 8, 2022 11:54 AM
To:                                Blume, Robert C.; Cari Laufenberg; Ring, Rose; *** Service-FB-CA_MDL
Cc:                                Daniel Garrie; Anne Davis; David Ko; Derek Loeser; Matt Melamed; Julie Law
Subject:                           Re: FB 30(b)(6) - Topic 4 Request for Documents
Attachments:                       EY-FB-00005176_native.pdf; FB-CA-MDL-02075073_image.pdf; T4-023
                                   _PwC_CPUP_FB00007766.pdf


Good morning, and Happy Mother’s Day to all,

Apologies for the email over the weekend, but Plaintiffs are obliged to comply with the requirement of the Amended
Deposition Protocol that Plaintiffs provide, three days in advance, a list of documents that Plaintiffs may mark and/or
contain subject matter related to Topic 4 on Wednesday, May 11.

Documents containing information relating to Topic 4 are listed below to assist in your preparation of the witness. Some
of these documents are lengthy; to clarify, for those documents, Plaintiffs will focus on the portions of them that
discuss associating data and information through identifiers, for deletion or other purposes. Because for most of these
processes Plaintiffs have not received schema, wiki, protos or manuals discussing them, the documents selected have
referenced such procedures but may not be solely focused on them.

New identifiers mentioned in some of these documents but not previously referenced by Facebook in its responses the
Special Master include the              PSID; tokens (referred to in at least one document as a unique identifier); cookies
containing information such as                             ; and, for example, the process of searching for user data for
deletion purposes through the                  query (see FB_CA_MDL-02247472-475). Plaintiffs seek to understand what
these identifiers are and, at a high level, how they function.

FB-CA-MDL-01960039-66
PwC_CPUP_FB- 00007807-7917
PwC_CPUP_FB00010406-446
PwC_CPUP_FB 00014384-451
FB-CA-MDL-02247472-475
FB-CA-MDL-00191798-808
PwC_CPUP_FB 00020372-381
FB-CA-MDL-02087686
FB-CA-MDL-00405232-250
EY-FB-00006940-45
FB-CA-MDL-00035435-51
FB-CA-MDL-00019339-48
PwC_CPUP_FB 00031206-210
EY-FB-00005274-76
FB-CA-MDL 02073244-47
FB-CA-MDL-02914373-425
FB-CA-MDL-01952478
PwC_CPUP_FB 00022060-123
PwC_CPUP_FB 00030728-46
PwC_CPUP_FB 00020-124
FB-CA-MDL-00220812-813


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Plaintiffs will also seek to understand Facebook’s responses to Special Master Garrie’s questions regarding Facebook’s
ability to search and/or delete users’ content and information from data sources using such identifiers.

Enjoy the day.

Best,

Lesley



         On May 6, 2022, at 4:22 PM, Lesley Weaver <lweaver@bfalaw.com> wrote:


         Counsel,

         As referenced in our meet and confer today, Plaintiffs write to request production of documents that set
         forth policies and procedures relating to Topic 4, set for this Wednesday, May 11. We will be
         identifying documents relating to the deposition on Sunday, but are writing to request production of
         certain materials ahead of time.

         To frame the request, here is Topic 4: Facebook’s processes of pseudonymization, de-identification, re-
         identification, association, and deletion of User Data and Information.

         Specifically, three documents, all attached, are exemplars of the kinds of documents reflecting at least in
         some way summaries of Facebook’s policies and procedures relating to these topics that we would
         expect to see, but which Plaintiffs have not found, in Facebook’s current productions:

             1. A 2013 email produced by third party PriceWaterhouse Coopers at PwC_CPUP_FB00007766
                includes excerpts from a wiki regarding how to delete user data. However, it appear to be
                incomplete. Plaintiffs have diligently searched Facebook’s productions and have not found any
                versions similar to this document. If Facebook has produced such wikis, we ask that Facebook
                identify them by Bates number. If Facebook has not, Plaintiffs ask that the documents be
                produced sufficiently ahead of the deposition to allow time for analysis and review.

             2. A wiki from 2018 relates to directions for ASID conversions and mapping of ASID to UID, and “in
                the opposite direction.” See the email at FB-CA-MDL-02075073 that Wiki Bot created the wiki
                page "                                  "). However, this document appears to be identifying
                possible exploitation of the procedure and does not produce an overall view of how these
                identifiers are created, used and mapped.

             3. A 2017 Wiki produced from Ernst & Young refers to a number of comprehensive descriptive
                documents about Hive, including an FAQ. See EY-FB-00005176 While not all are necessarily
                related to Topic 4, the documents themselves clearly provide information that would be
                incredibly useful as we work together to identify efficient ways to search Hive for user data,
                among other topics. See, for example, the reference to “Open Source Hive Manual.” Setting
                aside the broader issues, this document references the kinds of schemas and descriptive notes
                we would expect to see relating data architecture. For example, see references to the “Hive
                Architecture Diagram,” “Hive Command Execution Flow,” “Data/Hive/AuditLogs Info about
                every executed Hive query is logged here,” and “Data/Hive/DevCheat Sheet.”




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We reference these documents as exemplars of the kinds of documents Plaintiffs would have expected
to be produced at this juncture in the case. We note that two of the three were produced by third
parties and not Facebook.

More concretely, ahead of the Topic 4 deposition, Plaintiffs renew their ask for production of wikis
and/or internal documents that discuss how identifiers are created, used, pseudonymized, associated,
de-identified, re-identified and deleted. The list of identifiers includes not only the identifiers that
Facebook revelaed to Special Master Garrie (FB ID, UID,              and ASID), but also identifiers used to
track users off platform, such as the DATR,_fbp, _fbc, XS/C_, USER XS/C_ and fr cookies, and any other
identifiers used throughout the Class Period.

To be clear, Plaintiffs will proceed with the deposition and will also provide further documents that may
be discussed during the deposition 72 hours ahead of the deposition, as required by the Amended
Deposition Protocol. However, we write in advance in the hope that Facebook will produce documents
that can streamline the deposition ahead of time.

Thanks very much.

Lesley




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